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                                                        HILLSIDE LAKES,

                 Type of Work: Dramatic Work and Music; or Choreography
   Registration Number / Date: PAu004109634 / 2021-11-13
              Application Title: HILLSIDE LAKES "THE BIG BREAK" PILOT.
                          Title: HILLSIDE LAKES, "THE BIG BREAK" PILOT.
                   Description: Electronic file (eService)
          Copyright Claimant: Marcus P Amick, 1968- , Transfer: By written agreement. Address: 2215 Westmonte
                                 Rd., Toledo, OH, 43607, United States.
                                 Amos Arauz, 1988- , Transfer: By written agreement. Address: 4995 Persimmon
                                 Hollow Rd, Milton, FL, 32583.
                                 Toya Hankins, Transfer: By written agreement. Address: 3283 Lawrence St., Detroit,
                                 MI, 48206, United States.
              Date of Creation: 2012
    Authorship on Application: Marcus P Amick, 1968- ; Citizenship: United States. Authorship: text.
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